Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 1 of 29 Page ID #:107



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    9
                             UNITED STATES DISTRICT COURT
   10
                           CENTRAL DISTRICT OF CALIFORNIA
   11
   12
      ANGELENA SANDIFOR, BRENDA                      Case No. 2:18-cv-07650-DMG-PLA
   13 BLANDON, JAMIE UTTERBACK
   14               Plaintiffs,
                                                     FIRST AMENDED COMPLAINT
   15         v.
   16 COUNTY OF LOS ANGELES, LOS
      ANGELES COUNTY SHERIFF’S
   17 DEPARTMENT, LOS ANGELES
      COUNTY SHERIFF JAMES
   18 McDONNELL, in his individual and
      official capacity, DEPUTY
   19 GIANCARLO SCOTTI, in his individual
      and official capacity, and DOES 1 TO
   20 10,
   21               Defendants.
   22
   23                                   INTRODUCTION
   24         1.    While employed by the County of Los Angeles as a Sheriff’s deputy, and
   25 while working at the Century Regional Detention Center, defendant Deputy Giancarlo
   26 Scotti sexually harassed, abused and assaulted female inmates that he had the duty to
   27 protect. Plaintiffs Angelena Sandifor, Brenda Blandon and Jamie Utterback are three of
   28 Deputy Scotti’s victims.

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 2 of 29 Page ID #:108




    1         2.     On or around June 5, 2017, Deputy Scotti sexually assaulted Plaintiff
    2 Jamie Utterback by forcing her to rub his erect penis while she was isolated and alone
    3 with him in an elevator with video surveillance.
    4         3.     On or around September 11, 2017, Deputy Scotti sexually assaulted
    5 Plaintiff Angelena Sandifor by forcing her to orally copulate him from her cell, as he
    6 stood in a hallway viewable by video surveillance.
    7         4.      On or around November 25, 2016, Deputy Scotti sexually harassed and
    8 assaulted Plaintiff Brenda Blandon by ordering her to disrobe while in her cell. On or
    9 around December 2, 2016, Deputy Scotti groped Plaintiff Brenda Blandon’s breast
   10 while she was isolated and alone with him in an elevator with video surveillance.
   11         5.     On September 13, 2017, Deputy Scotti was arrested on suspicion of
   12 sexually assaulting at least other two women inmates at the Century Regional Detention
   13 Facility. Specifically, the accusations which compelled Deputy Scotti’s arrest included
   14 rape under color of authority and oral copulation under color of authority.
   15         6.     On February 21, 2018, the Los Angeles County District Attorney’s Office
   16 filed a felony complaint, charging Deputy Scotti with sexually assaulting six female
   17 inmates housed at the Lynwood facility. Reference is made to the People of the State of
   18 California v. Giancarlo Scotti; Case No. BA465694.
   19         7.     This civil rights action seeks compensatory and punitive damages from
   20 defendants for violating rights under the United States Constitution in connection with
   21 the sexual assault of plaintiffs by Deputy Scotti. In sexually assaulting and abusing the
   22 three plaintiffs and other victims, Deputy Scotti exploited opportunities that were
   23 provided by the County’s deliberate indifference to the safety of the three plaintiffs and
   24 other victims. Deputy Scotti’s supervisors and co-workers, together with the County of
   25 Los Angeles and the Los Angeles County Sheriff’s Department, and Sheriff
   26 McDonnell, failed to respect and enforce key policies designed to prevent and deter
   27 sexual abuse, failed to train their employees regarding those policies, failed to discipline
   28 their employees for violating those policies, maintained vague and unclear policies, and

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 3 of 29 Page ID #:109




    1 maintained customs and practices that deviated from written policy.
    2                              JURISDICTION AND VENUE
    3         8.     This case arises under 42 U.S.C. § 1983. Accordingly, subject matter
    4 jurisdiction is conferred upon this Court by 28 U.S.C. §§ 1331 and 1343. Jurisdiction
    5 for the claims based on California law is founded on 28 U.S.C. § 1367(a), which
    6 provides this court with supplemental jurisdiction over state law claims that are so
    7 related to claims in the action within such original jurisdiction that they form part of
    8 the same case or controversy under Article III of the United States Constitution.
    9         9.     Plaintiffs’ claims arise out of a course of conduct involving officials for
   10 the County of Los Angeles, in the County of Los Angeles, State of California, and
   11 within this judicial district. Venue is proper in this district under 28 U.S.C. § 1391(b), as
   12 this is the district in which a substantial part of the events or omissions giving rise to
   13 the claims occurred.
   14                                          PARTIES
   15         10.    Plaintiff Angelena Sandifor is an adult woman competent to sue. At all
   16 relevant times, Plaintiff Sandifor was incarcerated at the Century Regional Detention
   17 Facility (“CRDF”), a women’s jail located at 11705 Alameda Street, Lynwood, CA
   18 90059. Plaintiff Sandifor was last released from the CRDF on August 30, 2018.
   19         11.    Plaintiff Brenda Blandon is an adult woman competent to sue. At all
   20 relevant times, Plaintiff Blandon was incarcerated at the Century Regional Detention
   21 Facility (“CRDF”), a women’s jail located at 11705 Alameda Street, Lynwood, CA
   22 90059. Plaintiff Blandon was last released from the CRDF on or around December 9,
   23 2016.
   24         12.    Plaintiff Jamie Utterback is an adult woman competent to sue. At all
   25 relevant times, Plaintiff Utterback was incarcerated at the Century Regional Detention
   26 Facility (“CRDF”), a women’s jail located at 11705 Alameda Street, Lynwood, CA
   27 90059. Plaintiff Blandon was last released from the CRDF on or around September 4,
   28 2018.

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 4 of 29 Page ID #:110




    1         13.    Defendant County of Los Angeles (“County”) is a legal and political entity
    2 established under the laws of the State of California, with all of the powers specified
    3 and necessarily implied by the Constitution and the laws of the State of California and
    4 exercised by various government agents and officers. In this case, the County acted
    5 through its agents, employees, and servants, including the policymakers for defendant
    6 the Los Angeles County Sheriff’s Department (“LASD”), and through defendant James
    7 McDonnell (“McDonnell”), the Los Angeles County Sheriff. Defendant McDonnell is
    8 sued in his official and individual capacity. At all relevant times, Defendants County,
    9 LASD, McDonnell and each of them, possessed the power and authority to adopt
   10 policies and prescribe rules, regulations, and practices affecting all facets of the training,
   11 supervision, control, employment, assignment and removal of individual members of
   12 the LASD, including those individuals charged with protecting the health and safety of
   13 detainees and arrestees at County detention facilities, including plaintiffs Angelena
   14 Sandifor, Brenda Blandon and Jamie Utterback, and to assure that said actions, policies,
   15 rules, regulations, customs, practices and procedures of the LASD and its employees
   16 and agents complied with the laws and constitutions of the United States and the State
   17 of California. At all relevant times, the County was the employer of each of the
   18 individually named defendants, and the CRDF was a County-run facility, operated by
   19 the LASD.
   20         14.    Defendant Deputy Giancarlo Scotti (“Deputy Scotti”) is a deputy sheriff
   21 for the LASD. At all relevant times, Deputy Scotti was a duly authorized employee and
   22 agent of the County of Los Angeles, subject to oversight and supervision by the
   23 County’s elected and non-elected officials, and was acting under color of law and
   24 within the course and scope of his duties as a sheriff deputy for the LASD and with
   25 complete authority and ratification of the principal, County. In committing the acts
   26 alleged herein, Deputy Scotti acted within the scope of his respective employment and
   27 under color of law. Deputy Scotti is sued in both his official and individual capacities.
   28         15.     The true names of defendants Does 1 through 10 are presently unknown

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 5 of 29 Page ID #:111




    1 to Plaintiffs, who therefore sue each of these defendants by such fictitious names; but
    2 upon ascertaining the true identity of a defendant Doe, Plaintiffs will amend this
    3 complaint or seek leave to do so by inserting the true and correct name in lieu of the
    4 fictitious name. Plaintiffs are informed and believes, and on the basis of such
    5 information and belief alleges that each defendant Doe herein is in some manner
    6 responsible for the injuries and damages alleged herein. Each individually named Doe
    7 defendant, like each individually named defendant, acted under color of law and within
    8 the scope of his or her agency and employment with the County and LASD. Each Doe
    9 is sued in both his/her official and individual capacities.
   10                        FACTS OF THE SANDIFOR INCIDENT
   11         16.    Plaintiff Angelena Sandifor repeats and re-alleges each and every
   12 allegation in paragraphs 1 through 15 of this complaint with the same force and effect
   13 as if fully set forth herein.
   14         17.    Plaintiff Angelena Sandifor was arrested and placed into the custody of
   15 the LASD sometime in or near November 2016.
   16         18.    During her time at the CRDF in 2017, Sandifor came into contact with
   17 Deputy Scotti. In particular, on or around September 10, 2017, Sandifor first met
   18 Deputy Scotti at the CRDF medical clinic. Sandifor was given a blanket and she asked
   19 Deputy Scotti whether she could keep it and he replied something to the effect of, “you
   20 can pay me for it some other way.” Later that day, after Sandifor had left the clinic,
   21 Deputy Scotti told Sandifor, “don’t go to sleep right now.” Around this time, Sandifor
   22 saw that Deputy Scotti greeted another LASD deputy working in “the bubble” of her
   23 module (2100) and block (block 1) who was ostensibly responsible for watching
   24 surveillance video. This LASD employee was in a green uniform, was an older, bald
   25 black man, but Sandifor does not know his name.
   26         19.    Later that day, after Sandifor had been returned to her cell, Deputy Scotti
   27 walked up to Sandifor’s cell and gave her toilet paper through the metal slot on the
   28 door. At this point he told her, “let me see your titties!” Shocked and scared, Sandifor

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 6 of 29 Page ID #:112




    1 declined and Deputy Scotti walked away.
    2         20.    Later that same evening, sometime around 1 a.m. on September 11, 2017,
    3 Deputy Scotti returned to the area around Sandifor’s cell. While standing in eye-shot of
    4 Sandifor’s cell, but not directly in front of the cell, Deputy Scotti motioned to get
    5 Sandifor’s attention and then unzipped his pants and pulled out his penis. In response,
    6 Sandifor brushed her hand away through the open slot to the door of her cell, gesturing
    7 for Deputy Scotti to stop and to go away. Instead, Deputy Scotti approached Sandifor’s
    8 cell and demanded to touch her breasts.
    9         21.    Upon hearing Deputy Scotti’s demand, Sandifor became extremely
   10 frightened. As a fourteen-year-old, Sandifor had been sexually assaulted and she
   11 consequently suffers from anxiety and depression. Deputy Scotti’s repeated and
   12 ramped-up sexual advances scared Sandifor, especially because he was so persistent, so
   13 open, and so bold. Despite being a victim of sexual assault, Sandifor had not been
   14 questioned or screened by any County or LASD employee upon entering the CRDF
   15 regarding her past sexual victimization. Indeed, before September 12, 2017, the entity
   16 defendants had made no effort to determine whether Sandifor had a history of sexual
   17 abuse, nor had she been assessed whatsoever regarding her risk of sexual victimization.
   18         22.    Deputy Scotti soon approached Sandifor’s cell and demanded to touch
   19 her “tits.” Deputy Scotti then felt Sandifor’s bare breasts through the slot of the cell
   20 door. Deputy Scotti then pulled out his penis, put it through the slot of the cell door
   21 and Sandifor acceded to his pressure by orally copulating him. At one point during this
   22 ordeal for Sandifor, Deputy Scotti told her something to the effect of, “I’m going to
   23 bust in your mouth.” When Deputy Scotti finished, Sandifor walked to toilet, tried to
   24 clean herself up, and then went to sleep. Sandifor believes the ordeal was recorded by
   25 video surveillance, although no LASD employee ever intervened so it is unclear
   26 whether anyone was watching the video as the sexual assault occurred.
   27         23.    On September 13, 2017, Deputy Scotti was arrested for sexually assaulting
   28 inmates at the CRDF. Sandifor heard the news and came forward to a LASD employee

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 7 of 29 Page ID #:113




    1 working at the CRDF. Investigators went to Sandifor’s cell and inspected her items,
    2 even bringing a blacklight into the cell. It was clear that Sandifor had been identified as
    3 one of Deputy Scotti’s victims. In the following days and weeks, on multiple occasions,
    4 Sandifor met with LASD Internal Affairs officers. On at least two occasions Sandifor
    5 met with Lieutenant Stone and a female officer and was shown a video of the incident,
    6 lasting around eight minutes. On another occasion, Sandifor met with a Lieutenant
    7 Christian and a Sergeant Colon, and she herself was videotaped while being
    8 interviewed. During at least one of these meetings Sandifor was able to identify Deputy
    9 Scotti, circling a photo of him that the officers showed her. Sandifor experienced
   10 depression and anxiety through this time period. Sandifor was placed on psychotropic
   11 medications that she had never taken before; she felt bullied about this and does not
   12 remember much of this time period when she was heavily medicated.
   13         24.    Despite being identified as a victim, Sandifor was not protected from
   14 ongoing abuse, and instead was retaliated against for having complained of her
   15 victimization. Sometime in September of 2017 two Does, LASD Deputies, spoke to
   16 Sandifor and referenced the sexual assault, one said something to the effect of,
   17 “wouldn’t you want another partner like that,” and then both laughed. Sandifor was
   18 placed in sustained fear and anxiety, and felt that she was unsafe and could not trust
   19 anyone at the CRDF.
   20         25.    Sandifor suffered further psychological abuse and retaliation. Around July
   21 2018, having long been identified as a victim of Deputy Scotti’s a Doe defendant, an
   22 LASD Deputy, told her in reference to Deputy Scotti, “don’t act like you didn’t like it,”
   23 and “I bet you wanted to take it in the ass.” Again, Sandifor was placed in sustained
   24 fear and anxiety, and felt that she was unsafe and could not trust anyone at the CRDF.
   25 To her great relief, Sandifor was released from the CRDF on August 30, 2018.
   26                       FACTS OF THE BLANDON INCIDENT
   27         26.    Plaintiff Brenda Blandon repeats and re-alleges each and every allegation
   28 in paragraphs 1 through 15 of this complaint with the same force and effect as if fully

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 8 of 29 Page ID #:114




    1 set forth herein.
    2         27.   Plaintiff Brenda Blandon was arrested and placed into the custody of the
    3 LASD on or around November 21, 2016. Blandon was detained at the CRDF, until her
    4 release on or around December 9, 2016.
    5         28.   On or about November 25, 2016, during the evening and after dinner,
    6 Deputy Scotti walked by Blandon’s cell at the CRDF and stopped to talk to her.
    7 Blandon felt singled out and that the subject of the conversation was not just small talk.
    8 In fact, Deputy Scotti started the conversation by ordering Blandon to disrobe. The
    9 verbal command was accompanied by a very forceful motion and head gesture, which
   10 suggested a “do it right now” type of command. Blandon, shocked and afraid,
   11 complied and disrobed to where she was naked in her cell. Deputy Scotti, replied,
   12 “looks good,” and walked away.
   13         29.   Brenda Blandon’s second encounter with Deputy Scotti came just days
   14 later. On or about December 2, 2016, Blandon was in the laundry area where she
   15 encountered Deputy Scotti. This time, Deputy Scotti had communicated a desire to
   16 want to “fuck,” and proceeded to scour the area for a place that was free of potential
   17 video surveillance. Stunned and afraid, Blandon just stood and watched Deputy Scotti,
   18 wondering what he would do next. When it was apparent that Deputy Scotti was
   19 uncomfortable with their current location and potential for detection, he ordered
   20 Blandon to follow him into the staff elevator, located on the first floor near, working
   21 module 1700. Blandon afraid and alone, assented to his commands and followed
   22 Deputy Scotti into the elevator. Once in the elevator, Deputy Scotti forcefully grabbed
   23 Blandon’s breast. Deputy Scotti, ordered Blandon to return to her cell. Blandon
   24 believes the ordeal was recorded by video surveillance, although no LASD employee
   25 ever intervened so it is unclear whether anyone was watching the video as the sexual
   26 assault occurred.
   27         30.   The two had no further contact while Blandon was incarcerated at the
   28 CRDF. However, shortly upon Blandon’s release from custody, Deputy Scotti,

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 9 of 29 Page ID #:115




    1 contacted Blandon on Facebook and messaged her, “do you want to fuck.” Blandon
    2 did not respond to that message and has had no further contact with Deputy Scotti.
    3         31.    After Blandon’s release, and on or about a date Plaintiff cannot recall,
    4 Plaintiff”s mother, Zeneyda Walla, was contacted by Sergeant Bernal of LASD who
    5 indicated that he wished to speak with Blandon regarding the assaults. Ms. Blandon
    6 subsequently provided law enforcement with an accounting of the sexual assaults and
    7 was also shown video surveillance footage of the sexual assault which occurred on or
    8 about December 2, 2016 in the elevator.
    9         32.    On January 4, 2018, Kelly Adler, acting Captain of LASD’s Internal
   10 Criminal Investigations Bureau, provided Blandon with U- Nonimmigrant Status
   11 Certification (USCIS Form I-918), commonly referred to as a U-Visa, certifying
   12 Blandon as a victim in a criminal investigation, specifically, a victim of Deputy Scotti’s,
   13 referring to the sexual assaults perpetrated onto Blandon by Deputy Scotti in 2016.
   14                      FACTS OF THE UTTERBACK INCIDENT
   15         33.    Plaintiff Jamie Utterback repeats and re-alleges each and every allegation
   16 in paragraphs 1 through 15 of this complaint with the same force and effect as if fully
   17 set forth herein.
   18         34.    Plaintiff Jamie Utterback was arrested and placed into the custody of the
   19 LASD on or around March of 2017. Sometime in late March or early April of 2017 she
   20 was transferred to the 3500 module where she met Deputy Scotti. Deputy Scotti was
   21 known as a “cool” guard, who would talk friendly to the inmates and even bring his
   22 guitar sometimes. In April 2017 Deputy Scotti started flirting with Utterback. He would
   23 call her over to his desk to make small talk, saying things like, “you’re Armenian, are
   24 you in here for fraud?” He also would volunteer information about himself, such as his
   25 family coming from Sicily, Italy.
   26         35.    Deputy Scotti intensified his interest when he started asking about
   27 Utterback’s relationship status and asked for her Facebook profile so he could look her
   28 up and see pictures of her, so as to see what she looked like when not in jail.

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 10 of 29 Page ID #:116




    1 Intimidated by his attention and feeling unable to say no to the deputy who supervised
    2 her, Utterback gave Deputy Scotti her Facebook information. On a later occasion
    3 Deputy Scotti told Plaintiff Utterback, “I looked you up last night…very nice.” This
    4 creepy comment happened in the module during pill call around late May or early June
    5 of 2017. Deputy Scotti would ask inappropriate, creepy and flirtatious questions like,
    6 “have you been a ‘good girl’ or a ‘bad girl’?” and also stare at her for long periods of
    7 time.
    8         36.    At one point, Deputy Scotti asked Utterback whether she wanted to go on
    9 a “field trip” with a pass that would permit her to leave the day room, and on a later
   10 date told her to be ready in the “next couple days.” Utterback recalls trying to resist
   11 Deputy Scotti’s attention, saying words to the effect of, “you’re not my type, don’t be
   12 so desperate hitting on inmates.” Yet Utterback did not feel comfortable outright
   13 resisting Deputy Scotti’s advances because he would assert his power over her. In one
   14 instance, Utterback was talking to another male deputy working at the day room when
   15 she noticed Deputy Scotti get jealous, culminating in him actually threatening to “roll”
   16 her out of the day room.
   17         37.    It was in the context of this unwanted attention that on or around June 5,
   18 2017, Deputy Scotti called Utterback over to his desk and gave her a day pass (which
   19 she understood to be fake) and said “ready,” while lifting his eyebrow suggestively.
   20 Fearing her privileges would end and that she would be “rolled” out of the day room
   21 given his prior threats, and fearing him especially because she realized the efforts he
   22 had taken to make a fake pass, Utterback assented to his demands and headed to the
   23 elevator to go from the third floor to the clinic on the first floor of the CRDF. When
   24 the two arrived at the clinic Deputy Scotti told Utterback to sit down, he then left, only
   25 to return in a few minutes.
   26         38.    Deputy Scotti then ordered Utterback to get back in the elevator. Once in
   27 the elevator, on the way back up to the 3rd floor, Deputy Scotti told Utterback,
   28 referring to her by her nickname, “Hey, Diamond, why don’t you come over here and

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 11 of 29 Page ID #:117




    1 give it a little grab.” Utterback initially froze in fear and shock; it was one thing to get
    2 close to the line of appropriate behavior and be a “cool” guard who was flirtatious, but
    3 it was another to cross way over the line and demand sexual favors from an inmate.
    4 Utterback recalls trying to resist by saying something like, “there’s a camera in here,
    5 they can see us.” Deputy Scotti responded by saying words to the effect of, “no, don’t
    6 worry, they don’t watch it.” Deputy Scotti, unworried he would be caught by anyone
    7 monitoring the video surveillance then waived Utterback over to him with his eyes.
    8 Not feeling as if she had the power to say no, Utterback stood closely in front of
    9 Deputy Scotti, and complied with his demand by grabbing his penis with both hands
   10 and making a massaging gesture for three or four seconds. At this time, Deputy Scotti’s
   11 penis was already erect; he moaned in her ear and raised his leg when she touched him.
   12 Utterback believes the ordeal was recorded by video surveillance, although no LASD
   13 employee ever intervened so it is unclear whether anyone was watching the video as the
   14 sexual assault occurred.
   15         39.    When the elevator ride ended the two exited and Deputy Scotti motioned
   16 to a deputy in “the bubble” with a thumbs-up sign and Utterback went to her cell.
   17 Afterwards, Utterback felt gross and upset about what happened, feeling completely
   18 violated by Deputy Scotti and the power he wielded over her. A few days later
   19 Utterback requested to leave the module because she was tired of his looks, but also
   20 tired of comments from other inmates who had noticed Deputy Scotti’s attention
   21 towards her. These comments were to the effect of, “if you want anything around here
   22 just ask Diamond.” Utterback reported the incident to two inmates, Melissa Diehl and
   23 Ivana “Q” Posaj. However, after the arrest of Deputy Scotti she did not report the
   24 incident to authorities, fearing she would get into trouble and preferring to focus on
   25 following the rules until her release.
   26         40.    In November 2017 Utterback was released from the CRDF. Before her
   27 release Utterback was contacted by LASD officer Bernal and another male officer.
   28 Officer Bernal said that her name had been coming up in relation to Deputy Scotti but

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 12 of 29 Page ID #:118




    1 Utterback was uncomfortable and fearful of the consequences of saying what had
    2 happened to her, so she didn’t. Later, Officer Bernal went to visit Utterback at a
    3 treatment facility in Tarzana that she had been conditionally released to, and also at a
    4 court appearance in Van Nuys in August of 2018. Utterback went back in to custody
    5 and later in August of 2018 she gave a statement to Officer Bernal. After that meeting,
    6 Utterback met with officials whom she believed were LASD Internal Affairs (“IA”)
    7 officers, one was a man with the last name Morris and his partner was female.
    8 Utterback met with IA Officer Morris on another occasion, in which she was shown a
    9 video of her sexual assault by Deputy Scotti on the elevator at the CRDF.
   10         41.    Sometime after the meeting with IA Officer Morris and his female
   11 partner, Utterback was transferred by Doe defendants LASD deputies to solitary
   12 confinement, also known as “K-10.” While in K-10, Doe defendants did not permit
   13 Utterback to access the telephone, nor access the showers. Unable to bathe or contact
   14 the outside world by telephone for over a week, Utterback was terrified. She had met
   15 with IA officers and then she had been punished by other LASD employees, Doe
   16 defendants. The psychological and physical toll were devastating.
   17         42.    To make matters worse, a defendant Doe, another LASD deputy, blamed
   18 Plaintiff Utterback for the fact she had been placed in solitary confinement, and
   19 warned her against flirting with male deputies, as if Plaintiff Utterback had invited the
   20 unwanted sexual predation by Deputy Scotti. When she was released from “K-10” this
   21 Doe defendant suggested to Utterback that CRDF was unsafe for her, but that she had
   22 contributed to her treatment. To her great relief, Plaintiff Utterback was released from
   23 the CRDF on or around September 4, 2018.
   24      COMMON FACTS RELATED TO THE SANDIFOR, BLANDON AND
   25                                UTTERBACK INCIDENTS
   26         43.    Upon information and belief, Plaintiff Sandifor, Plaintiff Blandon and
   27 Plaintiff Utterback (collectively referred to as “Plaintiffs”) allege that before either
   28 plaintiff was sexually assaulted by Deputy Scotti, that the County, LASD and

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 13 of 29 Page ID #:119




    1 McDonnell were on notice that other female inmates had complained about sexual
    2 assaults and sexually inappropriate behavior by Deputy Scotti. Furthermore, Plaintiffs
    3 allege that Deputy Scotti had been put on some form of employment probation by the
    4 County before he sexually assaulted Plaintiffs. Nonetheless, the County, LASD and
    5 McDonnell, and certain Does, permitted Deputy Scotti to work at a women’s jail,
    6 permitting him the regular, daily task of supervising women inmates, which oftentimes
    7 necessitated that he be alone with women inmates.
    8              44.      Defendant McDonnell, and certain Does, other LASD supervising
    9 officers, were on notice that Deputy Scotti was engaging in conduct in violation of
   10 written policy, including policies deterring sexual abuse and impropriety.
   11              45.      Defendant McDonnell, and certain Does, other LASD supervising
   12 officers, failed to act to prevent Deputy Scotti from engaging in this conduct. Since the
   13 written policies were designed, at least in part, to prevent and deter sexual abuse,
   14 McDonnell, and other LASD supervising officers knew, or reasonably should have
   15 known, that the failure to enforce these policies heightened the danger of sexual abuse
   16 of female inmates by Deputy Scotti.
   17              46.      As a result of McDonnell, and certain Does’ (other LASD supervising
   18 officers) failure to supervise Deputy Scotti, despite being put on notice, Deputy Scotti
   19 was not subject to timely LASD discipline and instead permitted the opportunity to
   20 victimize female inmates, such as Plaintiffs.
   21              47.      Further evidence exists that the County, LASD, and McDonnell are not
   22 meeting their constitutional and statutory obligations and are not adequately protecting
   23 women inmates from sexual assault. The Prison Rape Elimination Act of 2003
   24 (“PREA”), currently codified at 34 U.S.C. § 30301, et seq., mandates that correctional
   25 facilities protect inmates from sexual assault. A subsequently promulgated federal rule
   26 (28 C.F.R. 115.401) requires that agencies ensure that each of their correctional facilities
   27 is audited once every three years.1 At the time of the sexual assaults of Plaintiffs, the
   28
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            28 C.F.R. Part 115, available at http://www.prearesourcecenter.org/sites/default/files/library/2012-12427.pdf

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 14 of 29 Page ID #:120




    1 CRDF had not undergone such a timely audit. Indeed, no jail operated by the County
    2 and LASD had undergone a PREA-related audit within three years of Deputy Scotti’s
    3 sexual assaults of the Plaintiffs and numerous other women.
    4           48.      Only after the sexual assaults of Plaintiffs did defendants permit a PREA-
    5 related audit of the CRDF. The preliminary report of federal auditors found many
    6 deficiencies at CRDF regarding the prevention of rape and sexual assault, including a
    7 lack of screening to assess inmates’ risk of sexual victimization, and a weak grievance
    8 system that adequately protects inmates who complain about sexual abuse from
    9 retaliation.2
   10           49.      If Deputy Scotti had been adequately trained and supervised prior to the
   11 sexual abuse of the Plaintiffs, if his errant behavior had been timely investigated, if he
   12 had been timely punished as a result, if he was properly monitored so that he could no
   13 sexually assault women in elevator rides knowing that the video surveillance was not
   14 being live-monitored to prevent him from acting as a sexual predator, and if the CRDF
   15 had been timely and properly audited, and if the CRDF was compliance with federal
   16 standards preventing prison rape, then the sexual abuse of the Plaintiffs in this case
   17 could have been averted.
   18                                                    DAMAGES
   19           50.      As a direct and proximate result of aforesaid acts and omissions, and the
   20 customs, practices, policies and decisions of the defendants alleged in this complaint,
   21 Plaintiffs suffered and will continue to suffer great emotional, mental and physical pain
   22 and injuries, anguish, fright, nervousness, anxiety, shock, humiliation, indignity,
   23 embarrassment, harm to reputation, and apprehension, which have caused and will
   24 continue to cause, Plaintiffs to sustain general damages in a sum to be determined at
   25 trial.
   26           51.      As a direct and proximate result of the aforesaid acts, omissions, customs,
   27
   28   2
         Maya Lau, “L.A. County women’s jail lags behind national standards on preventing sexual abuse, report finds.” L.A.
        TIMES, April 1, 2018, available at http://www.latimes.com/local/lanow/la-me-lasd-prea-20180401-story.html

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 15 of 29 Page ID #:121




    1 practices, policies and decisions of the aforementioned Defendants, Plaintiffs suffered
    2 the denial of their fundamental constitutional rights guaranteed by the First, Fourth,
    3 Eighth and Fourteenth Amendments of the United States Constitution, which have
    4 caused Plaintiffs to sustain damages in a sum to be determined at trial.
    5         52.    As a further direct and proximate result of the aforesaid acts, omissions,
    6 customs, practices, policies and decisions of the aforementioned Defendants, Plaintiffs
    7 incurred and/or will incur medical expenses, including psychological treatment.
    8         53.    As a further direct and proximate result of the aforesaid acts, omissions,
    9 customs, practices, policies and decisions of the aforementioned Defendants, Plaintiffs
   10 suffered past and future losses of income that have caused her to sustain economic
   11 damages in a sum to be determined at trial.
   12         54.    Deputy Scotti, and individual Doe defendants, excluding Defendants
   13 County and LASD, acted in a manner that was willful, wanton, malicious and
   14 oppressive, with reckless disregard of or in deliberate indifference to and with the
   15 intent to deprive Plaintiffs of their constitutional rights, and did in fact violate the
   16 aforementioned rights, entitling Plaintiffs to exemplary and punitive damages in an
   17 amount to be proven at the trial in this matter.
   18
   19                                 FIRST CLAIM FOR RELIEF
   20                          Violation of Civil Rights – 42 U.S.C. § 1983
   21    (First Amendment – Plaintiff Sandifor and Plaintiff Utterback Against All Defendants)
   22         55.    Plaintiff Sandifor incorporates by reference each and every allegation
   23 contained in the foregoing paragraphs as if re-alleged herein.
   24         56.    At all relevant times, Plaintiff Sandifor and Plaintiff Utterback were
   25 incarcerated at the CRDF, a jail operated by the County. At all relevant times Plaintiff
   26 Sandifor and Plaintiff Utterback were under the direct supervision and control of their
   27 jailers, deputies of the LASD.
   28         57.    The entity defendants, individual defendants, and Doe defendants, while

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 16 of 29 Page ID #:122




    1 acting under color of law, deprived Plaintiff Sandifor of her civil rights under the First
    2 Amendment by acting and/or allowing each other to act in a threatening or violent
    3 manner and otherwise engaging in conduct that inhibited Plaintiff Sandifor’s freedom
    4 of speech and right to petition for redress of grievances and to complain about their
    5 treatment while in custody, and that such actions undertaken by defendants would chill
    6 a person of ordinary firmness from continuing to engage in freedom of speech. The
    7 entity defendants, individual defendants, and Doe defendants, while acting under color
    8 of law, deprived Plaintiff Utterback of her civil rights under the First Amendment by
    9 acting and/or allowing each other to act in a threatening or violent manner and
   10 otherwise engaging in conduct that inhibited Plaintiff Utterback’s freedom of speech
   11 and right to petition for redress of grievances and to complain about their treatment
   12 while in custody, and that such actions undertaken by defendants would chill a person
   13 of ordinary firmness from continuing to engage in freedom of speech.
   14         58.     The above acts and omissions, while carried out under color of law, have
   15 no justification or excuse in law, and instead constitute a gross abuse of governmental
   16 authority and power that shock the conscience. They are fundamentally unfair, arbitrary
   17 and oppressive, and unrelated to any activity in which governmental officers may
   18 appropriately and legally undertake in the course of protecting persons, or ensuring
   19 civil order. The above acts and omissions were consciously chosen from among various
   20 alternatives.
   21         59.     The conduct of entity defendants, individual defendants, and Doe
   22 defendants was willful, wanton, malicious, or done with reckless disregard for the rights
   23 and safety of Plaintiff Sandifor and Plaintiff Utterback. For instance, Plaintiff Sandifor
   24 had already been identified as a victim of Deputy Scotti when Doe defendant, an
   25 LASD Deputy, told her in reference to Deputy Scotti, “don’t act like you didn’t like it,”
   26 and “I bet you wanted to take it in the ass.” Similarly, Plaintiff Utterback, after several
   27 instances of meeting with LASD Internal Affairs officers to discuss her mistreatment
   28 by Deputy Scotti, both with Officer Bernal and on a later occasion with Officer Morris,

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 17 of 29 Page ID #:123




    1 was sent by defendant Does into solitary confinement ( “K-10”) and not permitted
    2 access to the telephone nor the showers for over a week. To make matters worse,
    3 defendant Doe officer blamed Plaintiff Utterback for the fact she had been placed in
    4 solitary confinement, and warned her against flirting with male deputies, as if Plaintiff
    5 Utterback had invited the unwanted sexual predation by Deputy Scotti. Plaintiff
    6 Utterback had complained to Internal Affairs officers and was then placed into “K-10”,
    7 a condition that would chill any person from making future complaints, since to
    8 complain about being a sexual victim meant at the CRDF that victimization was a valid
    9 basis for being punished with solitary confinement and denial of the right to access a
   10 phone and bathing facilities.
   11          60.   Plaintiff Sandifor specifically alleges that Defendants’ complained of acts
   12 and/or omissions were within each of their control, and within the feasibility of each of
   13 them, to alter, adjust, and/or correct so as to prevent some or all of the unlawful acts
   14 and injuries complained of herein by Plaintiff Sandifor. Plaintiff Utterback specifically
   15 alleges that Defendants’ complained of acts and/or omissions were within each of their
   16 control, and within the feasibility of each of them, to alter, adjust, and/or correct so as
   17 to prevent some or all of the unlawful acts and injuries complained of herein by
   18 Plaintiff Utterback.
   19          61.   As a direct and proximate result of the aforesaid acts, omissions, customs,
   20 practices, policies and decisions of the aforementioned defendants, Plaintiff Sandifor
   21 suffered extreme and severe mental anguish, and were injured as alleged above,
   22 entitling each of them to recover compensatory and punitive damages (excepts as to
   23 the entity defendants) according to proof. As a direct and proximate result of the
   24 aforesaid acts, omissions, customs, practices, policies and decisions of the
   25 aforementioned defendants, Plaintiff Utterback suffered extreme and severe mental
   26 anguish, and were injured as alleged above, entitling each of them to recover
   27 compensatory and punitive damages (excepts as to the entity defendants) according to
   28 proof.

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 18 of 29 Page ID #:124




    1                               SECOND CLAIM FOR RELIEF
    2                          Violation of Civil Rights – 42 U.S.C. § 1983
    3                     (Fourth Amendment– Plaintiffs Against Deputy Scotti)
    4         62.     Plaintiffs incorporate by reference each and every allegation contained in
    5 the foregoing paragraphs as if re-alleged herein.
    6         63.     At all relevant times, Plaintiffs were incarcerated at the CRDF, a jail
    7 operated by the County. At all relevant times Plaintiffs were under the direct
    8 supervision and control of their jailers, deputies of the LASD.
    9         64.     Defendant Deputy Scotti, while acting under color of law, sexually
   10 assaulted Plaintiffs and engaged in the conduct described above, and thereby deprived
   11 Plaintiffs of their civil rights under the Fourth Amendment to the United States
   12 Constitution.
   13         65.     The force used by Deputy Scotti upon Plaintiffs while sexually assaulting
   14 each of them while in custody was harmful, unwanted, and excessive.
   15         66.     The sexual assaults of Plaintiffs by Deputy Scotti, and Deputy Scotti’s
   16 conduct as described above, were unreasonable, unjustified, and offensive to human
   17 dignity.
   18         67.     The conduct of Deputy Scotti was willful, wanton, malicious, or done
   19 with reckless disregard for the rights and safety of Plaintiffs and therefore warrants the
   20 imposition of exemplary and punitive damages.
   21         68.     As a result of the conduct of Deputy Scotti, Plaintiffs were harmed.
   22                                THIRD CLAIM FOR RELIEF
   23                          Violation of Civil Rights – 42 U.S.C. § 1983
   24                     (Eighth Amendment –Plaintiffs Against Deputy Scotti)
   25         69.     Plaintiffs incorporate by reference each and every allegation contained in
   26 the foregoing paragraphs as if re-alleged herein.
   27         70.     At all relevant times, Plaintiffs were incarcerated at the CRDF, a jail
   28 operated by the County.

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 19 of 29 Page ID #:125




    1         71.     At all relevant times Plaintiffs were under the direct supervision and
    2 control of their jailers, deputies of the LASD.
    3         72.     Defendant Deputy Scotti, while acting under color of law, sexually
    4 assaulted Plaintiffs and engaged in the conduct described above, and thereby deprived
    5 Plaintiffs of their civil rights under the Eighth Amendment to the United States
    6 Constitution.
    7         73.     The force used by Deputy Scotti upon Plaintiffs while sexually assaulting
    8 each of them while in custody was harmful, unwanted, and excessive.
    9         74.     The sexual assaults of Plaintiffs by Deputy Scotti, and Deputy Scotti’s
   10 conduct as described above, were unreasonable, unjustified, and offensive to human
   11 dignity. It was also with deliberate indifference to the rights and safety of Plaintiffs.
   12         75.     The conduct of Deputy Scotti was willful, wanton, malicious, sadistic, and
   13 done with reckless disregard for the rights and safety of Plaintiffs and therefore
   14 warrants the imposition of exemplary and punitive damages.
   15         76.     As a result of the conduct of Deputy Scotti, Plaintiffs were harmed.
   16                              FOURTH CLAIM FOR RELIEF
   17                          Violation of Civil Rights – 42 U.S.C. § 1983
   18                   (Fourteenth Amendment –Plaintiffs Against Deputy Scotti)
   19         77.     Plaintiffs incorporate by reference each and every allegation contained in
   20 the foregoing paragraphs as if re-alleged herein.
   21         78.     At all relevant times, Plaintiffs were incarcerated at the CRDF, a jail
   22 operated by the County. At all relevant times Plaintiffs were under the direct
   23 supervision and control of their jailers, deputies of the LASD.
   24         79.     Defendant Deputy Scotti, while acting under color of law, sexually
   25 assaulted Plaintiffs and engaged in the conduct described above, and thereby deprived
   26 Plaintiffs of their civil rights under the Fourteenth Amendment to the United States
   27 Constitution.
   28         80.     The force used by Deputy Scotti upon Plaintiffs while sexually assaulting

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 20 of 29 Page ID #:126




    1 each of them while in custody was harmful, unwanted, and excessive.
    2         81.    The sexual assault of Plaintiffs by Deputy Scotti, and Deputy Scotti’s
    3 conduct as described above, was unreasonable, unjustified, and offensive to human
    4 dignity. It was also with deliberate indifference to the rights and safety of Plaintiffs.
    5         82.    The conduct of Deputy Scotti was willful, wanton, and done with reckless
    6 disregard for the rights and safety of Plaintiffs and therefore warrants the imposition of
    7 exemplary and punitive damages.
    8         83.    As a result of the conduct of Deputy Scotti, Plaintiffs were harmed.
    9         84.    Plaintiffs specifically allege that Defendants’ complained of acts and/or
   10 omissions, were within each of their control, and within the feasibility of each of them,
   11 to alter, adjust, and/or correct so as to prevent some or all of the unlawful acts and
   12 injury complained of herein by Plaintiffs.
   13                                FIFTH CLAIM FOR RELIEF
   14                          Violation Due Process – 42 U.S.C. § 1983
   15                  (Fourteenth Amendment –Plaintiffs Against Deputy Scotti)
   16         85.    Plaintiffs incorporate by reference each and every allegation contained in
   17 the foregoing paragraphs as if re-alleged herein.
   18         86.    At all relevant times, Plaintiffs were incarcerated at the CRDF, a jail
   19 operated by the County. At all relevant times Plaintiffs were under the direct
   20 supervision and control of their jailers, deputies of the LASD.
   21         87.    Plaintiffs had a cognizable interest under the Due Process Clause of the
   22 Fourteenth Amendment of the United States Constitution to be free from state actions
   23 that deprive them of life, liberty, or property in such a matter as to shock the
   24 conscience.
   25         88.    Defendant Deputy Scotti acting under color of law and within the course
   26 and scope of his employment by the County and LACPD, sexually assaulted Plaintiffs
   27 and engaged in the conduct described above, and thereby deprived Plaintiffs of their
   28 civil rights under the Fourteenth Amendment to the United States Constitution.

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 21 of 29 Page ID #:127




    1         89.    The aforementioned actions of Deputy Scotti, along with undiscovered
    2 conduct, shock the conscience, in that he acted with deliberate indifference to the
    3 constitutional rights of Plaintiffs.
    4         90.    The acts of Deputy Scotti violated the substantive due process rights of
    5 Plaintiffs.
    6         91.    The acts or omissions of Deputy Scotti caused harm to Plaintiffs.
    7         92.    The conduct of Deputy Scotti was willful, wanton, malicious, and done
    8 with reckless disregard for the rights and safety of Plaintiffs and therefore warrants the
    9 imposition of exemplary and punitive damages.
   10         93.    Plaintiffs specifically allege that Defendants’ complained of acts and/or
   11 omissions, were within each of their control, and within the feasibility of each of them,
   12 to alter, adjust, and/or correct so as to prevent some or all of the unlawful acts and
   13 injury complained of herein by Plaintiff.
   14                                SIXTH CLAIM FOR RELIEF
   15            Municipal Liability –Unconstitutional Custom, Practice, or Policy
   16                                        42 U.S.C. § 1983
   17               (Plaintiffs Against County, LASD, McDonnell, and Certain Does)
   18         94.    Plaintiffs incorporate by reference each and every allegation contained in
   19 the foregoing paragraphs as if re-alleged herein.
   20         95.    The individual defendants and Doe defendants acted under color of law
   21 and within the course and scope of their employment by the County and LASD.
   22         96.    The individual defendants and Doe defendants deprived Plaintiff Sandifor
   23 of her rights under the First Amendment, and Deputy Scotti deprived both Plaintiffs of
   24 their rights under the Fourth, Eighth, and Fourteenth Amendments, as alleged above.
   25         97.    Plaintiffs are informed and believe, and thereon alleges that, at all times
   26 herein mentioned, defendants County, LASD, the relevant policy maker, McDonnell,
   27 and relevant County officials, unnamed certain Does (hereinafter referred to
   28 collectively as the entity defendants) maintain or tolerate unconstitutional customs,

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 22 of 29 Page ID #:128




    1 practices, and policies that facilitated the deprivation of Plaintiffs’ rights under the
    2 First, Fourth, Eighth, and Fourteenth Amendment, as alleged above.
    3         98.    The policies, customs, and practices described above are also evidenced
    4 by the victimization of Plaintiffs and other female inmates at the CRDF by Deputy
    5 Scotti. Entity defendants’ non-compliance with PREA standards, including the failure
    6 to timely audit the CRDF, is further evidence of entity defendants’ systematic failure to
    7 comply with their constitutional obligations.
    8         99.    Entity defendants had either actual or constructive knowledge of the
    9 deficient policies, practices and customs alleged in the paragraphs above. Indeed, entity
   10 defendants knew of their obligations under PREA and still failed to submit to a federal
   11 audit and still failed to meet baseline federal standards at the CRDF. Said officials acted
   12 with deliberate indifference to the foreseeable effects and consequences of these
   13 policies, practices and customs with respect to the constitutional rights of Plaintiffs and
   14 other female inmates similarly situated.
   15         100. As a direct and proximate result of the aforesaid acts, omissions, customs,
   16 practices, policies and decisions of the aforementioned defendants, Plaintiffs were
   17 injured and sustained damages as alleged above. Accordingly, Plaintiffs seek
   18 compensatory damages from all the entity defendants, and punitive damages from
   19 defendant McDonnell, in his individual capacity only.
   20                             SEVENTH CLAIM FOR RELIEF
   21               Municipal Liability –Inadequate Training/Policy of Inaction
   22                                         42 U.S.C. § 1983
   23                (Plaintiffs Against County, LASD, McDonnell and Certain Does)
   24         101. Plaintiffs incorporate by reference each and every allegation contained in
   25 the foregoing paragraphs as if re-alleged herein.
   26         102. At all times mentioned herein and prior thereto, defendants County,
   27 LASD, McDonnell and certain Does (hereinafter referred to collectively as the entity
   28 defendants) had a duty to train, instruct, supervise, discipline and/or correct their

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 23 of 29 Page ID #:129




    1 subordinates to assure they respected and did not violate constitutional and statutory
    2 rights of inmates, and to objectively investigate violations of women prisoners’ rights,
    3 including, but not limited to, the right to be free from sexual abuse, the right to be safe
    4 and protected from injury while in defendants’ custody, and the right to speak to
    5 officials about sexual abuse without retaliation under the First, Fourth, Eight and
    6 Fourteenth Amendments to the U.S. Constitution.
    7          103. Plaintiffs are informed and believe, and thereupon allege, that prior to the
    8 incident alleged herein, defendants McDonnell and certain Does facilitated, permitted,
    9 ratified and/or condoned similar acts of sexual abuse of female inmates by male
   10 Sheriff’s deputies, and were deliberately indifferent to the health and safety of inmates
   11 in general and Plaintiffs in particular. Said defendants knew, or should have reasonably
   12 knowns, of this practice, pattern or custom of constitutional violations by the deputies
   13 they supervised, and additionally, of the existence of certain facts and situations that
   14 created the potential of unconstitutional acts, and had a duty to instruct, train, supervise
   15 and discipline their subordinates to prevent similar acts to other persons, but failed to
   16 do so.
   17          104. The training provided by the County, LASD, and the relevant policy
   18 maker, Sheriff McDonnell, and relevant County officials, and certain Does was not
   19 adequate to train their sheriff deputies and other jail staff to handle the usual and
   20 recurring situations with which they must deal. As evidenced by the numerous
   21 instances of female inmates other than Plaintiffs who were sexually assaulted by male
   22 deputies, the entity defendants did not adequately train their officers and staff to
   23 prevent, deter, detect, and avoid sexual abuse of female inmates at the CRDF – and
   24 were on notice of such.
   25          105. The entity defendants maintained a policy and practice of inaction with
   26 respect to the violation of policies designed to prevent or deter sexual abuse of female
   27 inmates. LASD officers who engaged in suspicious behavior, or behavior that violated
   28 written policy, were inadequately disciplined or otherwise not penalized in connection

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 24 of 29 Page ID #:130




    1 with sexual or otherwise inappropriate behavior towards female inmates. The entity
    2 defendants were deliberately indifferent to the obvious consequences of their failure to
    3 train their officers and staff adequately. Entity defendants’ non-compliance with PREA
    4 standards, including the failure to timely audit the CRDF, is further evidence of entity
    5 defendants’ systematic failure to comply with their constitutional obligations.
    6         106. As a result thereof, Plaintiffs’ rights under the First, Fourth, Eight and
    7 Fourteenth Amendments to the U.S. Constitution were violated. As a further result
    8 thereof, Plaintiffs sustained the injuries and damages alleged herein.
    9         107. The individual defendants and Doe defendants acted under color of law
   10 and within the course and scope of their employment by the County and LASD.
   11         108. As a direct and proximate result of the aforesaid acts, omissions, customs,
   12 practices, policies and practice of inaction of the aforementioned defendants, Plaintiffs
   13 were injured and sustained damages as alleged above. Accordingly, Plaintiffs seek
   14 compensatory damages from all the entity defendants
   15         109. The conduct of the individual defendants mentioned herein, in their
   16 individual capacities, was intentional, malicious, willful, wanton and in reckless
   17 disregard of Plaintiffs’ conditional rights, and/or grossly negligent as this conduct
   18 shocks the conscience and is fundamentally offensive to a civilized society, so as to
   19 justify the imposition of punitive damages against these defendants.
   20                              EIGHTH CLAIM FOR RELIEF
   21        Failure to Intervene to Prevent Civil Rights Violations – 42 U.S.C. §§ 1983
   22                     (Plaintiffs Against Certain Individual Doe Defendants)
   23         110. Plaintiffs incorporate by reference each and every allegation contained in
   24 the foregoing paragraphs as if re-alleged herein.
   25         111. At all times relevant, certain individual Doe defendants were present and
   26 were charged with the constitutional duties of protection of protection of Plaintiffs and
   27 were charged with the duty to not knowingly, with wanton disregard, cause their life,
   28 health and safety to be placed in danger by intentionally and/or deliberately ignoring

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 25 of 29 Page ID #:131




    1 the known dangers to Plaintiffs posed by Deputy Scotti.
    2         112. Each said defendant had ample and reasonable sufficient time and
    3 opportunity to so intervene and prevent Plaintiffs’ injuries, and were compelled to do
    4 so as a LASD deputy and/or employee under the laws of the state of California and
    5 United States Constitution. In deliberate indifference to the welfare of Plaintiffs, each
    6 said defendant intentionally and with deliberate indifference to the civil rights of
    7 Plaintiffs, refrained from intervening in the acts leading to Plaintiffs’ injuries. Indeed,
    8 entity defendants knew of their obligations under PREA and still failed to submit to a
    9 federal audit and still failed to meet baseline federal standards at the CRDF.
   10         113. As a result thereof, Plaintiffs’ rights under the First, Fourth, Eighth and
   11 Fourteenth Amendments to the U.S. Constitution were violated. As a result thereof,
   12 Plaintiffs sustained the injuries and damages alleged herein.
   13         114. The conduct of the individual Doe defendants mentioned herein was
   14 intentional, malicious, willful, wanton and in reckless disregard of Plaintiffs’
   15 constitutional rights and/or grossly negligent in that this conduct shocks the
   16 conscience and is fundamentally offensive to a civilized society, so as to justify the
   17 imposition of punitive damages on the individual Doe defendants.
   18                               NINTH CLAIM FOR RELIEF
   19                     Violation of Civil Rights – 42 U.S.C. §§ 1983, 1988
   20                              Conspiracy to Violate Civil Rights
   21                           (Against All Individual County Defendants)
   22         115. Plaintiffs incorporate by reference each and every allegation contained in
   23 the foregoing paragraphs as if re-alleged herein.
   24         116. This cause of action arises under United States Code, Title 42, Sections
   25 1983 and 1988, wherein Plaintiffs seek to redress a deprivation under color of law of a
   26 right, privilege or immunity secured to each of them by the First, Eighth and
   27 Fourteenth Amendments to the United States Constitution.
   28         117. Defendants Deputy Scotti, McDonnell, and Does 1-10, and each of them:

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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 26 of 29 Page ID #:132




    1               (a) had a joint and simultaneous duty to make sure that Plaintiffs were not
    2               sexually assaulted;
    3               (b) had joint and simultaneous knowledge that Plaintiffs were at risk of
    4               being sexually assaulted by Deputy Scotti;
    5               (c) with such duty, knowledge and a meeting of the minds, took action at
    6               the same time and in the same place to collaborate to refuse to protect
    7               Plaintiffs from Deputy Scotti’s sexual assaults. Thus, forming a ‘pact of
    8               denial’ such that for the months that Plaintiffs was subject to Deputy
    9               Scotti’s sexual assaults – after the individual defendants had been alerted
   10               to the danger Deputy Scotti posed to Plaintiffs – not a single one of them
   11               did anything to intervene on Plaintiffs’ behalf or prevent the sexual
   12               assaults of Plaintiffs;
   13               (d) acted as described herein above, in conspiracy with, and with the
   14               agreement permission, ratification, and approval of, each other to violate
   15               Plaintiffs’ civil rights as stated herein.
   16         118. As a direct and proximate result of the aforementioned acts, omissions
   17 and deliberate indifference of each of the defendants, Plaintiffs were harmed.
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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 27 of 29 Page ID #:133




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    7                                PRAYER FOR RELIEF
    8 WHEREFORE, Plaintiffs pray for relief as follows against defendants:
    9        1.    General and compensatory damages in an amount according to proof;
   10        2.    Special damages in an amount according to proof;
   11        3.    Exemplary and punitive damages against each individual and Doe
   12              defendant, but not against the County or LASD, in amounts according to
   13              proof;
   14        4.    Cost of suit, including attorneys’ fees, under 42 U.S.C. § 1988; and
   15        5.    Such other relief as may be warranted or as is just and proper.
   16
   17
                                           LAW OFFICES OF ERIN DARLING
   18 DATED: September 12, 2018
   19
                                           By:     /s/ Erin Darling
   20                                              Erin Darling
   21                                            Attorney for Plaintiffs,
                                                 ANGELENA SANDIFOR
   22                                            BRENDA BLANDON
   23                                            JAMIE UTTERBACK

   24
   25                                      LAW OFFICES OF JUSTIN STERLING
   26 DATED: September 12, 2018
   27
                                           By:        /s/ Justin Sterling
   28

                                                 27
Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 28 of 29 Page ID #:134




    1                                         Justin Sterling
                                            Attorney for Plaintiffs,
    2                                       ANGELENA SANDIFOR
                                            BRENDA BLANDON
    3
                                            JAMIE UTTERBACK
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Case 2:18-cv-07650-DMG-PLA Document 13 Filed 09/12/18 Page 29 of 29 Page ID #:135




    1
    2                                      JURY DEMAND
    3         Plaintiff Angelena Sandifor, Plaintiff Brenda Blandon, and Plaintiff Jamie
    4 Utterback hereby each demand trial by jury on all issues so triable.
    5
                                             LAW OFFICES OF ERIN DARLING
    6 DATED: September 12, 2018
    7
                                             By:     /s/ Erin Darling
    8                                                Erin Darling
    9                                              Attorney for Plaintiffs,
                                                   ANGELENA SANDIFOR
   10                                              BRENDA BLANDON
   11                                              JAMIE UTTERBACK

   12
   13                                        LAW OFFICES OF JUSTIN STERLING
   14 DATED: September 12, 2018
   15
                                             By:      /s/ Justin Sterling
   16                                                Justin Sterling
                                                   Attorney for Plaintiffs,
   17
                                                   ANGELENA SANDIFOR
   18                                              BRENDA BLANDON
                                                   JAMIE UTTERBACK
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